                                                                                                                                               Page No:     1
                                                                          FORM 1
                                              INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                               ASSET CASES
Case No.:                      22-40065-JPG                                                      Trustee Name:                             Andrew W. Suhar
Case Name:                     CALIFORNIA PALMS ADDICTION RECOVERY CAMPUS, INC.                  Date Filed (f) or Converted (c):          04/05/2022 (c)
For the Period Ending:         7/6/2022                                                          §341(a) Meeting Date:                     05/24/2022
                                                                                                 Claims Bar Date:                          07/18/2022

                         1                               2                     3                          4                         5                       6

                 Asset Description                    Petition/        Estimated Net Value             Property               Sales/Funds             Asset Fully
                  (Scheduled and                    Unscheduled       (Value Determined by             Abandoned             Received by the       Administered (FA) /
             Unscheduled (u) Property)                 Value                 Trustee,            OA =§ 554(a) abandon.           Estate              Gross Value of
                                                                     Less Liens, Exemptions,                                                        Remaining Assets
                                                                        and Other Costs)

 Ref. #
1       Pender Capital Asset Based                    $500,000.00                        $1.00                                            $0.00                   $1.00
        Lending Fund I, LP The $500k
        was paid to secure a purchase
        of the property and constitutes
        PREFERENCE because of the
        breach of the contract by
        Pender Capital
2       Accounts receivable                            $86,572.00                        $1.00                                            $0.00                   $1.00
3        Off. Furniture for staff of 50               $582,472.00                        $1.00                                            $0.00                   $1.00
         and furniture for 100 Client
         Rooms
4        Office Fixtures for staff of 50              $146,566.00                        $1.00                                            $0.00                   $1.00
5        Off. Euipment for staff of 50                $144,015.00                        $1.00                                            $0.00                   $1.00
6        2020 Chevy Equinox                             $4,000.00                        $1.00                                            $0.00                   $1.00
7        2019 Chevy Equinox                             $3,500.00                        $1.00                                            $0.00                   $1.00
8        1051 N. Canfield-Niles Rd,                          $0.00                       $1.00                                            $0.00                   $1.00
         Austintown contract
         $500,000.00 Mental Health and
         Addiction Facility
9        United States of America                     $598,776.64                        $1.00                                            $0.00                   $1.00
         Return of Funds Seized
10       California Palms vs. Ohio Men.                      $0.00                       $1.00                                            $0.00                   $1.00
         Health & Add. Services
         Declaratory & Injunctive Relief
11       Investment in Summerfield                    $500,000.00                        $1.00                                            $0.00                   $1.00
         Ohio (60 Bed Treatment Ctr)
         California Palms Addiction
         Recovery Campus LLC
12       KeyBank DIP account                  (u)     $146,676.92                  $146,676.92                                      $146,676.92                      FA


TOTALS (Excluding unknown value)                                                                                                        Gross Value of Remaining Assets
                                                    $2,712,578.56                  $146,687.92                                      $146,676.92                 $11.00




     Major Activities affecting case closing:
      07/06/2022       TRUSTEE IS REVIEWING ASSET NOS 1 THROUGH 11 TO DETERMINE IF ASSETS HAVE VALUE TO ADMINISTER OR
                       ABANDON.


 Initial Projected Date Of Final Report (TFR):         12/31/2022                                                  /s/ ANDREW W. SUHAR
 Current Projected Date Of Final Report (TFR):         12/31/2022                                                  ANDREW W. SUHAR




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                                                                       FORM 2
                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                          22-40065-JPG                                                             Trustee Name:                          Andrew W. Suhar
Case Name:                        CALIFORNIA PALMS ADDICTION RECOVERY CAMPUS,                              Bank Name:                             Pinnacle Bank
                                  INC.
Primary Taxpayer ID #:            **-***3195                                                               Checking Acct #:                       ******0065
Co-Debtor Taxpayer ID #:                                                                                   Account Title:
For Period Beginning:             1/30/2022                                                                Blanket bond (per case limit):         $1,000,000.00
For Period Ending:                7/6/2022                                                                 Separate bond (if applicable):

       1                2                     3                                  4                                            5               6                    7

   Transaction       Check /             Paid to/                    Description of Transaction            Uniform          Deposit     Disbursement          Balance
      Date            Ref. #          Received From                                                       Tran Code           $              $


06/28/2022            (12)     KEYBANK                   FUNDS FROM CHAPTER 11                             1229-000      $146,676.92                           $146,676.92
                                                         DEBTOR IN POSSESSION ACCOUNT

                                                                TOTALS:                                                  $146,676.92              $0.00        $146,676.92
                                                                    Less: Bank transfers/CDs                                   $0.00              $0.00
                                                                Subtotal                                                 $146,676.92              $0.00
                                                                    Less: Payments to debtors                                  $0.00              $0.00
                                                                Net                                                      $146,676.92              $0.00


  For the period of 1/30/2022 to 7/6/2022                                            For the entire history of the account between 06/28/2022 to 7/6/2022

  Total Compensable Receipts:                          $146,676.92                   Total Compensable Receipts:                              $146,676.92
  Total Non-Compensable Receipts:                            $0.00                   Total Non-Compensable Receipts:                                $0.00
  Total Comp/Non Comp Receipts:                        $146,676.92                   Total Comp/Non Comp Receipts:                            $146,676.92
  Total Internal/Transfer Receipts:                          $0.00                   Total Internal/Transfer Receipts:                              $0.00


  Total Compensable Disbursements:                           $0.00                   Total Compensable Disbursements:                                 $0.00
  Total Non-Compensable Disbursements:                       $0.00                   Total Non-Compensable Disbursements:                             $0.00
  Total Comp/Non Comp Disbursements:                         $0.00                   Total Comp/Non Comp Disbursements:                               $0.00
  Total Internal/Transfer Disbursements:                     $0.00                   Total Internal/Transfer Disbursements:                           $0.00




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Case No.                         22-40065-JPG                                                             Trustee Name:                          Andrew W. Suhar
Case Name:                       CALIFORNIA PALMS ADDICTION RECOVERY CAMPUS,                              Bank Name:                             Pinnacle Bank
                                 INC.
Primary Taxpayer ID #:           **-***3195                                                               Checking Acct #:                       ******0065
Co-Debtor Taxpayer ID #:                                                                                  Account Title:
For Period Beginning:            1/30/2022                                                                Blanket bond (per case limit):         $1,000,000.00
For Period Ending:               7/6/2022                                                                 Separate bond (if applicable):

      1                 2                    3                                  4                                            5               6                    7

  Transaction        Check /            Paid to/                    Description of Transaction            Uniform          Deposit     Disbursement          Balance
     Date             Ref. #         Received From                                                       Tran Code           $              $




                                                                                                                                                NET           ACCOUNT
                                                                         TOTAL - ALL ACCOUNTS                    NET DEPOSITS              DISBURSE          BALANCES

                                                                                                                        $146,676.92           $0.00           $146,676.92




 For the period of 1/30/2022 to 7/6/2022                                            For the entire history of the case between 04/05/2022 to 7/6/2022

 Total Compensable Receipts:                          $146,676.92                   Total Compensable Receipts:                              $146,676.92
 Total Non-Compensable Receipts:                            $0.00                   Total Non-Compensable Receipts:                                $0.00
 Total Comp/Non Comp Receipts:                        $146,676.92                   Total Comp/Non Comp Receipts:                            $146,676.92
 Total Internal/Transfer Receipts:                          $0.00                   Total Internal/Transfer Receipts:                              $0.00


 Total Compensable Disbursements:                           $0.00                   Total Compensable Disbursements:                                 $0.00
 Total Non-Compensable Disbursements:                       $0.00                   Total Non-Compensable Disbursements:                             $0.00
 Total Comp/Non Comp Disbursements:                         $0.00                   Total Comp/Non Comp Disbursements:                               $0.00
 Total Internal/Transfer Disbursements:                     $0.00                   Total Internal/Transfer Disbursements:                           $0.00




                                                                                                     /s/ ANDREW W. SUHAR
                                                                                                     ANDREW W. SUHAR




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